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11
12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14
     ZIXUAN RAO and KYLE BARBARO,                         Case No.
15
     individually and on behalf of all others similarly
16   situated,                                            CLASS ACTION COMPLAINT FOR:

17                 Plaintiffs,                            1. Breach of Express Warranty;
                                                          2. Breach of the Covenant of Good Faith and
18
      v.                                                     Fair Dealing;
19                                                        3. Breach of the Implied Warranty of
     APPLE INC.,                                             Merchantability;
20                                                        4. Violation of the Magnuson-Moss Warranty
21                 Defendant.                                Act, 15 U.S.C. § 2301, et seq.;
                                                          5. Violation of the Song-Beverly Consumer
22                                                           Warranty Act;
                                                          6. Violation of California’s Unfair
23                                                           Competition Law;
24                                                        7. Violation of California’s Consumer Legal
                                                             Remedies Act; and
25                                                        8. Fraudulent Concealment.
26                                                        DEMAND FOR JURY TRIAL
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 1              Plaintiffs Zixuan Rao and Kyle Barbaro, individually and on behalf of all others similarly
 2       situated, allege as follows against Defendant Apple Inc.
 3                                        SUMMARY OF THE ACTION
 4             1.       This action is brought on behalf of individuals who purchased model year 2015 or later
 5   Apple MacBook laptops and model year 2016 or later MacBook Pro laptops (the “MacBook”). The
 6   MacBook Pro is marketed and sold as top of the line—the 15-inch model’s starting price is $2,399. But
 7   the MacBook is defective: its “butterfly” keyboard is prone to fail. Thousands of consumers have
 8   experienced this defect. When the MacBook’s butterfly keyboard fails, the keys stick and no longer
 9   register keystrokes. As a result, the user cannot type.
10             2.       Apple’s butterfly keyboard and MacBook are produced and assembled in such a way
11   that when minimal amounts of dust or debris accumulate under or around a key, keystrokes fail to
12   register. The keyboard defect compromises the MacBook’s core functionality. As a result of the defect,
13   consumers who purchased a MacBook face a constant threat of non-responsive keys and accompanying
14   keyboard failure. When one or more of the keys on the keyboard fail, the MacBook can no longer serve
15   its core function: typing. Thus, when this defect manifests in the MacBook, the computer becomes
16   inoperable and unsuitable for its ordinary and intended use.
17             3.       Apple knew that the MacBook is defective at or before the time it began selling the
18   affected models to the public. Complaints of keyboard failures began to come in shortly after the 2015
19   MacBook was launched. Despite awareness of the keyboard defect, Apple equipped future model
20   MacBook and MacBook Pro laptops with the butterfly keyboard, and continued selling these laptops to
21   consumers at premium prices.
22             4.       Despite awareness of the defect, Apple touted—and continues to tout—the MacBook as
23   having a superior and highly responsive keyboard, with “four times more key stability than a traditional
24   scissor mechanism.” Apple’s representations regarding the MacBook’s keyboard were false. Apple
25   failed to disclose that the keyboard is defective, and this information would have been important to
26   Plaintiffs’ decision to purchase a MacBook:1
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     1
         https://www.apple.com/macbook-pro/ (last visited May 8, 2018).
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13          5.       Apple failed and continues to fail to disclose to consumers that the MacBook is
14   defective, including when consumers bring their failed laptops into the “Genius Bar” (the in-store
15   support desk) at Apple stores to request technical support.
16          6.       Although every MacBook comes with a one-year written warranty, Apple routinely
17   refuses to honor its warranty obligations. Instead of fixing the keyboard problems, Apple advises
18   MacBook owners to try self-help remedies that it knows will not result in a permanent repair. When
19   Apple does agree to attempt a warranty repair, the repair is only temporary—a purportedly repaired
20   MacBook fails again from the same keyboard problems. For consumers outside of the warranty period,
21   Apple denies warranty service, and directs consumers to engage in paid repairs, which cost between
22   $400 and $700.
23          7.       The keyboard defect in the MacBook is substantially certain to manifest. Thousands of
24   consumers have reported sticking or non-responsive keys on their MacBook keyboards. The failures
25   have become so prevalent that a petition on Change.org to demand an Apple recall amassed nearly
26   17,000 signatures in just over a week.2
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     2
28    The Change.org petition is available at https://www.change.org/p/apple-apple-recall-macbook-pro-w-
     defective-keyboard-replace-with-different-working-keyboard (last visited May 10, 2018).
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 1          8.       As a consequence of the undisclosed keyboard defect, Plaintiffs and Class members
 2   were deprived of the benefit of their bargain. Plaintiffs bring this action to obtain relief for themselves
 3   and other MacBook laptop purchasers.
 4                                                    PARTIES
 5          9.       Plaintiff Zixuan Rao is a citizen and resident of San Diego, California.
 6          10.      Plaintiff Kyle Barbaro is a citizen and resident of Melrose, Massachusetts.
 7          11.      Defendant Apple Inc. is incorporated under the laws of the State of California and has its
 8   principal place of business in Cupertino, California.
 9                                       JURISDICTION AND VENUE
10          12.      This Court has original jurisdiction under 28 U.S.C. § 1331 based on Plaintiffs’ claims
11   under the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq. The Court has supplemental
12   jurisdiction over Plaintiffs’ state-law claims under 28 U.S.C. § 1367.
13          13.      This Court also has jurisdiction over this lawsuit under the Class Action Fairness Act, 28
14   U.S.C. § 1332, because this is a proposed class action in which: (1) there are at least 100 Class
15   members; (2) the combined claims of Class members exceed $5,000,000, exclusive of interest,
16   attorneys’ fees, and costs; and (3) Plaintiff Barbaro and Defendant are domiciled in different states.
17          14.      The Court has personal jurisdiction over Apple because its principal place of business is
18   within this District and it has sufficient minimum contacts in California to render the exercise of
19   jurisdiction by this Court proper and necessary.
20          15.      Venue is also proper in this District under 28 U.S.C. § 1391(b) because a substantial part
21   of the events or omissions giving rise to Plaintiffs’ claims occurred in this District.
22          16.      The practices described herein were conceived, reviewed, approved, and otherwise
23   controlled from Apple’s headquarters in Cupertino, California. Employees at Apple’s headquarters
24   directed the production and assembly of the MacBook software and hardware, including the defective
25   butterfly keyboards. Promotional activities and literature were developed and coordinated at, and
26   emanated from, Apple’s California headquarters, including the launch events for the 2015 MacBook
27   and 2016 MacBook Pro, which occurred in Cupertino. Apple made critical decisions concerning the
28   development, marketing, and advertising of the MacBook in California. Misrepresentations and

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 1   omissions alleged herein were made by Apple employees based in California and were contained,
 2   among other places, on Apple’s website, which is maintained by Apple employees based in California.
 3   Warranty policies and procedures were developed and carried out by Apple employees in Cupertino.
 4                                    INTRADISTRICT ASSIGNMENT
 5          17.     Assignment to the San Jose Division is appropriate under Local Rule 3-2(c) because
 6   Apple is headquartered in Cupertino, California and a substantial part of the conduct at issue in this
 7   case occurred in Santa Clara County.
 8                                PLAINTIFF-SPECIFIC ALLEGATIONS
 9                                            Plaintiff Zixuan Rao
10          18.     On January 5, 2018, while in California, Mr. Rao purchased a new 15.4” MacBook Pro
11   with Touch Bar from B&H Photo Video online for $2,499.
12          19.     Before purchasing the MacBook Pro, Mr. Rao saw several advertisements in which
13   Apple made representations about the MacBook Pro’s high quality and functionality, including that it
14   was equipped with a highly responsive, high quality butterfly keyboard. Immediately upon receiving
15   his laptop, but before using it, Mr. Rao viewed the MacBook Pro’s box and went through the
16   computer’s initial setup process, in which Apple provided him with information about the device.
17          20.     In approximately February 2018, Mr. Rao’s MacBook Pro began to experience keyboard
18   failures. For example, the letter “b” key became unresponsive, resulting in many typing errors and
19   incomplete words.
20          21.     Mr. Rao attempted to troubleshoot his MacBook by cleaning his keyboard, i.e., by
21   turning his laptop at an angle and carefully tapping on the base multiple times to clear dust from the
22   keyboard. His attempts were not successful in alleviating the effects of the keyboard defect.
23          22.     On approximately April 2, 2018, Mr. Rao brought his laptop into a San Diego Apple
24   store to inquire about the problem. There, an Apple representative attempted to clean the “b” key that
25   was not working, but the problem persisted even after a thorough cleaning. The Apple representative
26   advised Mr. Rao that he could bring his laptop in for a repair, but that it would take about a week.
27   Apple declined to provide him with a temporary or loaner device during that repair period. Mr. Rao’s
28   programming work requires him to have access to a functioning laptop at all times. Mr. Rao had also

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 1   read reports of MacBook owners whose keyboards were repaired experiencing repeat failures as a
 2   result of the keyboard defect. Because he could not go a week without his laptop and did not want a
 3   repair that would not permanently fix the keyboard defect, Mr. Rao declined the repair offer. He
 4   purchased a replacement external keyboard for $139 on the recommendation of the Apple store
 5   representative.
 6          23.        Mr. Rao continues to experience repeated failures and problems with the functionality of
 7   the butterfly switch keys on the keyboard of his MacBook Pro.
 8                                            Plaintiff Kyle Barbaro
 9          24.        On November 20, 2016, while in Massachusetts, Mr. Barbaro purchased a MacBook Pro
10   from Apple’s online store for $2,548.94.
11          25.        Before purchasing the MacBook Pro, Mr. Barbaro saw promotional material about the
12   MacBook’s keyboard, including Apple’s representation that the MacBook Pro had a “more responsive
13   keyboard.” Prior to purchase, Apple disclosed further information to Mr. Barbaro, including price and
14   model information, in its online purchase portal. Immediately after receiving his laptop, but before
15   using it, Mr. Barbaro viewed the MacBook Pro’s box and went through the computer’s initial setup
16   process, in which Apple provided him with additional information about the device.
17          26.        In or around July 2017, Mr. Barbaro’s space bar and caps lock keys became
18   unresponsive. Mr. Barbaro attempted to fix the problem by holding the MacBook at an angle and
19   cleaning the keyboard with compressed air, but the problem persisted.
20          27.        Mr. Barbaro contacted Apple in September 2017. After a failed attempt to troubleshoot
21   the problem, Apple recommended that Mr. Barbaro take his device to the Genius Bar for further
22   assistance.
23          28.        Mr. Barbaro took his laptop to the Genius Bar on September 11, 2017. A Genius Bar
24   technician inspected the keyboard and confirmed that the space bar and caps lock keys were
25   unresponsive. The technician offered to send the laptop to Apple’s service depot for repairs.
26          29.        Mr. Barbaro sent his computer in, and after about one week, Mr. Barbaro received the
27   repaired MacBook. He continued to use the MacBook for ordinary tasks until December 2017, when
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 1   the space bar again became unresponsive in the same way as the first time his MacBook manifested the
 2   keyboard defect. Mr. Barbaro returned to the Genius Bar to seek assistance.
 3             30.   At the Genius Bar, a technician examined the laptop and determined that it would cost
 4   over $700 to repair the problem. The technician informed Mr. Barbaro that his warranty had expired
 5   and that he would be responsible for the full cost of the repairs. Mr. Barbaro declined to pay for the
 6   repairs. He still has the MacBook. It remains defective.
 7                                                   * * *
 8             31.   As described above, each Plaintiff encountered specific representations by Apple
 9   regarding the quality and functionality of the keyboards on the MacBook.
10             32.   Despite (1) knowledge that the MacBook is defective and (2) ample opportunity to
11   accurately describe the defective condition of the keyboards on the MacBook, Apple uniformly failed
12   to disclose to any Plaintiff that the MacBook is defective.
13             33.   Each Plaintiff was unaware before purchasing a MacBook that it is defective. Had Apple
14   disclosed the defect, Plaintiffs would not have purchased a MacBook, would not have bought it at the
15   price they did, or would have returned it during their respective seller’s customer remorse periods,
16   which ranged from 14 to 30 days. Each Plaintiff was directly injured by Apple’s conduct described
17   herein.
18             34.   Each Plaintiff ordinarily prefers Apple products to other products. Apple continues to
19   advertise the MacBook’s high quality and the functionality of the keyboard. But, because of their
20   experience with the MacBook, Plaintiffs do not trust Apple’s representations about its MacBook. As a
21   result, although Plaintiffs would like to again buy the Apple MacBook, they will not do so unless Apple
22   takes sufficient steps to cure the keyboard defect and ensure the accuracy of its representations about
23   the MacBook.
24                                 COMMON FACTUAL ALLEGATIONS
25             35.   According to Pew Research Center, nearly 75% of adults in the United States own
26   desktop or laptop computers. Laptops have become part of everyday life in the United States, largely
27   supplanting desktop computers.
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 1            36.    Consumers who choose laptops over tablets or desktops often do so because of, among
 2   other things, the mobility of a laptop as compared to a desktop, and the comfort of a fixed physical
 3   keyboard—which is typically not a feature of tablets.
 4            37.    The keyboard’s operability is critical to the workings of the laptop itself. Many of the
 5   core functions of a laptop cannot be performed without a working keyboard.
 6                      Overview of Keyboard Technology and Technological Advances
 7            38.    Early versions of the modern computer were equipped with thick keyboards that had
 8   clunky and mechanical keys that operated on buckling spring mechanisms.
 9            39.    As the consuming public increasingly opted for laptops, manufacturers began using new
10   technology to make laptops more portable and sleek.
11            40.    Laptop manufacturers introduced a traditional scissor mechanism for keyboard keys,
12   often referred to as a “scissor switch.”
13                         Apple Introduces the Butterfly Keyboard In the MacBook
14            41.    In 2015, with the unveiling of its new 12-inch MacBook, Apple began putting new
15   “butterfly” keyboards into the MacBook. The butterfly keyboards are slimmer than the scissor-switch
16   keyboards, and enabled Apple to make their laptops thinner. Apple also produced the butterfly
17   keyboards with the goal of improving key stability, comfort, and reliability.
18            42.    On the website dedicated to the MacBook, Apple touts the MacBook’s “[e]nhanced
19   butterfly mechanism” which is “[k]ey to the keyboard.” Apple claims that “[n]ow, with our second-
20   generation butterfly mechanism, the keyboard experience is refined for greater comfort and
21   responsiveness.”3 An image of one of Apple’s MacBook advertisements appears on the next page.
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         https://www.apple.com/macbook/ (last visited May 8, 2018).
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 9          43.    Apple uses similar language in advertisements for the MacBook Pro:
10                 “More responsive keyboard. More expansive trackpad.”
11
                   “Interacting with MacBook Pro is a smooth experience all around. The
12                 keyboard features our second-generation butterfly mechanism — providing
                   four times more key stability than a traditional scissor mechanism, along with
13                 greater comfort and responsiveness.”
14
                   Apple Launches the MacBook Without Disclosing the Keyboard Defect
15
            44.    Apple introduced the MacBook in spring 2015. The launch event for the MacBook was
16
     broadcast from Apple in Cupertino on March 9, 2015. During this event, Apple’s Senior Vice President
17
     for worldwide marketing, Phil Schiller, touted the keyboard:
18
                   The butterfly mechanism is built with a single assembly. And is supported by
19                 a stainless steel dome switch. And that all adds up to a key that is much more
                   precise, and accurate. In fact it is four times more stable than that scissor
20                 mechanism. Yet is 40% thinner allowing us to make a thinner keyboard. And
                   we also made the key cap larger, making it even easier to strike and get a
21                 beautiful typing experience. . . . The keys are much more precise, much more
22                 accurate, even if you strike them on the side. It is a beautiful keyboard . . . .

23          45.    Apple began selling the MacBook on April 10, 2015. The price for the laptop started at
24   $1,299 for the base configuration with 256 GB of flash storage. An upgraded model cost $1,599 and
25   contained 512 GB of storage and a faster processor.
26          46.    In late 2016, Apple introduced its MacBook Pro. Apple’s press release described the
27   laptop as “revolutionary” and “groundbreaking” with “breakthrough performance.” One of the main
28   selling points for the MacBook Pro was the keyboard. Apple characterized the MacBook Pro as

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 1   possessing “[m]ore responsive and comfortable typing on the keyboard” and as containing “the most
 2   responsive keyboard ever.”
 3          47.     The launch event for the MacBook Pro (also held in Cupertino) occurred on October 27,
 4   2016. Schiller again touted the capabilities of the laptop’s butterfly keyboard, hailing it as revamped
 5   and upgraded, and stating that “the keyboard . . . [is] more responsive, it gives an even greater sense of
 6   keyboard travel as you press on it. It is a great keyboard. I could talk all day about it.”
 7          48.     Apple repeatedly emphasized the high quality construction of the MacBook and its
 8   component parts, including the keyboard. Through various mediums, Apple represented to consumers
 9   that the MacBook keyboard is “highly responsive” and sensitive to type commands.
10          49.     The price for the MacBook Pro varied depending upon the model. A 13-inch MacBook
11   Pro without a Touch Bar (2.0 GHz dual-core Intel Core i5 processor with Turbo Boost, 8GB memory,
12   256 GB flash storage) was offered for $1,499. An upgraded model of the 13-inch MacBook Pro with a
13   Touch Bar was offered for $1,799. The 15-inch MacBook Pro laptop equipped with the Touch Bar (2.6
14   GHz quad-core Intel Core i7 process with Turbo Boost, 16GB memory, 256GB flash storage) was
15   offered for $2,399. Each of these models came with the butterfly switch keyboards. The MacBook Pro
16   went on sale on October 27, 2016, with Touch Bar models shipping in the weeks that followed.
17          50.     The MacBook and MacBook Pro can be purchased directly through Apple at its
18   storefront locations or through its online store. The laptops are also available for purchase through
19   third-party retailers such as B&H, Amazon, Best Buy, and Walmart.
20          51.     Before purchasing and/or using their MacBook, both Plaintiffs were exposed to their
21   laptop’s external packaging. The MacBook’s box displays basic product information like the laptop
22   model number, serial number, and product specs. The box does not—and never did—disclose that the
23   MacBook’s keyboard has a propensity to fail.
24          52.     Consumer who purchased the MacBook online from Apple also were exposed to further
25   disclosures from Apple regarding the computer in Apple’s online purchase portal. The online purchase
26   portal does not—and never did—disclose that the MacBook is prone to keyboard failure.
27          53.     After purchasing but before using their MacBook, each Plaintiff was required to, and
28   did, undertake Apple’s standard MacBook setup process. During this process, Plaintiffs interacted with

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 1   Apple in connection with their MacBook, and received or observed information disseminated by Apple
 2   about how to use the laptop. Plaintiffs conducted general setup activities like: (1) connecting to the
 3   internet; (2) migrating data to and from other devices; (3) downloading Apple applications; and (4)
 4   otherwise enrolling in Apple and Apple product services. Through the setup process, before they began
 5   using their laptop, Plaintiffs were presented with and required to acknowledge additional information
 6   and disclosures about the laptop (e.g., diagnostic information, terms of service, privacy policy, and
 7   location services). Apple did not use its setup process to inform either Plaintiff that the MacBook had
 8   defective keyboards.
 9          54.     Apple permits customers to return a MacBook purchased directly from Apple (i.e., at
10   Apple’s online or retail stores) for a refund within 14 calendar days after receiving the laptop. B&H, the
11   merchant that sold Mr. Rao his MacBook Pro, allows customers to return products 30 days after
12   purchase.
13          55.     Apple therefore had numerous opportunities and means to disclose the butterfly
14   keyboard defect prior to or at the time of Plaintiffs’ purchases, or during the period in which Plaintiffs
15   could have returned their laptop for a full or partial refund. Apple failed to do so.
16                            The Keyboard Defect Manifests Soon After Launch
17          56.     The MacBook suffers from a latent defect. Though it appears to function normally when
18   new, the MacBook has a defective keyboard. As numerous online consumer complaints describe, not
19   long after consumers purchase the MacBook, their keyboard begins to suffer from a host of problems
20   including keys sticking, keystrokes failing to register, keys typing a letter or command multiple times
21   even though it was struck only once, and keys simply not working at all. These problems foreclose or
22   seriously impair the use of the computer. They result from a defect that permits what should be an
23   uneventful occurrence—the accumulation of minute amounts of dust or debris—to render one or more
24   of the keys inoperable. This defect also renders the keyboards different from, and inferior to, Apple’s
25   intended manufacturing result.
26          57.     When users experience these keyboard problems, the MacBook fails in one of its most
27   basic functions: inputting keystroke commands. Hence, when the defect manifests, it is not possible to
28   use MacBook for its ordinary and intended purpose.

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 1          58.      The MacBooks are all equipped with the same keyboard, and it is produced from the
 2   same materials and assembled in the same way for each MacBook. The MacBooks are uniformly
 3   plagued by—and will eventually experience—the keyboard defect.
 4          59.      While pre-release testing should have made Apple aware that the MacBook is defective
 5   in advance of product launch, the record of public complaints to Apple demonstrates that it was aware
 6   of the problems with the MacBook shortly after its release.
 7          60.      The internet is replete with time-stamped complaints from consumers who have taken to
 8   Apple’s own website, social media, internet message boards, and product pages on retailer websites to
 9   voice dissatisfaction, frustration, and outrage about the defect.
10          61.      Consumers described MacBook keyboard failures in public forums immediately after
11   the MacBook was released and immediately after the MacBook Pro was released. For example, about a
12   month after the MacBook’s April 2015 release, many consumers were complaining about failing
13   keyboards on Apple’s discussion forums:
14               ronsavell, posted May 18, 2015:
15                The spacebar on my new 12” macbook is not working properly on the right side. Is anyone
                  else having this problem, if so, is there a solution? It feels like it is bottoming out on that
16                side, i don’t really know how to explain it. If I press it more towards the middle or on the
17                left side it works fine.4

18               calliefromlivermore, posted June 1, 2015:

19                Yup I had the same issue, returned it and exchanged it for a new one, and now the second
                  one is having the same issue. Apple is going to have a huge issue with this I think.5
20
21          62.      Many other consumers described their problems through other mediums, including one

22   consumer who posted within a week after the MacBook became available for purchase:

23               Matt2053, posted Apr. 15, 2015:

24                I really love the new keyboard—except for the “H” key. Every other key works great, but
                  the “H” doesn’t register when I press it on the corners. I have to hit it right in the middle.
25                Every other key, I can press the corner and it registers. Is this a problem in general, or is it
                  just my MacBook and I should return it for a new one?6
26
27   4
       https://discussions.apple.com/thread/7048209 (last visited May 9, 2018).
     5
28     Id.
     6
       https://forums.macrumors.com/threads/new-keyboard-h-key.1867551/ (last visited May 9, 2018).
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                 Appleuserindc, posted May 22, 2015:
 1
                  The C key on my new MacBook has a subtle but noticeable problem. I noticed yesterday
 2                morning that typing C wasn’t always registering. I played around with the key and
                  discovered that pressing the top of the key registered a normal click like the rest of the keys,
 3                but pressing at the bottom of the key was mushy with no click. I have an appointment at the
 4                Genius Bar Monday. I’m posting this to see if other people have a similar problem. Never
                  had a key fail on an Apple keyboard before and I’m worried that this one broke just five
 5                weeks in.7

 6          63.      Similarly, many complaints about the MacBook Pro’s keyboard were made within a few

 7   weeks of that product’s release:

 8               Rroch, posted Nov. 15, 2016:

 9                My 2016 15’’ MacBook Pro arrived yesterday (as one of the first). 63 of the 64 keys work
                  fine. But the i-key most of the time types the letter twice. I suggest you test out your
10                keyboard thoroughly. With auto-correct it can be easy to think it works. However, my
                  password contains the letter i, and I quickly became super frustrated not being able to get
11                my password right …. So take a document, turn off auto-correct, and check all the keys.8
12               Craigner, posted Nov. 15, 2016:
13                I have the same thing with my brand new 15 inch! The u key. Sometimes it doesn’t work at
                  all. Other times it types twice. Guess I’ll be returning it. Wanted to take this laptop on a trip
14                next week.9
15          64.      Myriad complaints about the MacBook Pro continued to surface in the weeks and
16   months that followed, including on Apple’s own discussion page:
17               ManuCH, posted Nov. 23, 2016:
18                After a lot of waiting and refreshing the delivery tracking page, my 2016 MacBook Pro 15”
                  (BTO with 2.9 GHz and 1TB SSD) arrived. And guess what - the keyboard is defective.
19
20                Yes, the “e” key is broken, meaning that it sometimes registers twice (depending on where
                  you press on it exactly, ie. the lower right corner is worse). … I tried wiggling, pressing
21                hard, canned air, the usual stuff - no dice.

22                So there you go, a brand new machine which I spent a fortune on, with a broken key. I went
                  to the Apple Store but they suggested I get it replaced by AppleCare, as they don’t even
23                have the spare parts to repair it yet.10

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26   7
       https://forums.macrumors.com/threads/macbook-12-c-key-failing.1885101/ (last visited May 9, 2018).
     8
27     https://forums.macrumors.com/threads/macbook-pro-2016-keyboard-failure.2015079/ (last visited
     May 9, 2018).
     9
28     Id. (last visited May 9, 2018).
     10
        https://discussions.apple.com/thread/7759662 (last visited May 9, 2018).
                                                      12
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 1               Desmond Harte, posted on Nov. 24, 2016:
 2                Number 4 for me on 13” model. Sometimes registers twice, sometimes registers ‘4od’ and
 3                other things. Hold it down and it will randomly repeat despite the keyboard not being set to
                  repeat. Also have a defective trackpad, rattles and other things. Not a great showing at all.
 4                Returning for refund. Will reconsider my position in terms of buying another MacBook
                  given what are clearly very profound lapses in quality control that should not happen on a
 5                machine that costs over £2,000.11

 6               Doridian, posted on Nov. 30, 2016:

 7                I recently got my new 2016 MacBook Pro 15”. … Sometimes I have to hit it 5 times to
                  make it work. This usually happens after I didn’t use the laptop for an hour or so (and it
 8                went to sleep). Recently, since I used the MBP more, it has become more and more rare and
                  the performance of the key seems more “on point” (usually have to only hit it twice to make
 9                it work after such time). Very very rarely hitting the key once produces the letter twice. Is
                  this a software or a hardware issue? Will this just go away entirely with more use? What
10                should I do?12
11
            65.       Many other consumers have contacted Apple directly to notify it that the MacBook is
12
     defective. The following sampling of complaints—many from Apple’s own message board—
13
     demonstrate that Apple is aware that the MacBook is defective and that the defect is plaguing the
14
     MacBook even as Apple continues to market newer, yet still defective, models:
15
                     Dan1ell, posted on Apr. 15, 2018:
16
                      I have a stuck key on the butterfly keyboard of a MacBook Pro (13-inch, 2016). . . .
17                    [Apple] reference[s] compressed air.13
18
                     Juan1982, posted on Apr. 29, 2018:
19
                      Stuck Keys on Macbook pro
20                    I’ve had my new Macbook pro (15” 2017) for a month and already I have 4 keys solidly
21                    stuck and half of the keyboard with stubborn keys. This results in me taking longer to do
                      my work and also, having to smack down on the keys so that I don’t misspell
22                    everything. The new keyboard is horrible. I’ve been looking through articles on how to
                      clean the keyboard but I’m very confused. … Apple suggests using compressed air to
23                    clean under the keys and warns that we should not attempt to clean the keys without
24                    Genius Bar supervision. (Geez!) … I need a solution. It’s a $2300 machine... The
                      keyboard can’t be this bad. Please help me recover my keys.14
25
26
     11
27      Id.
     12
        https://discussions.apple.com/thread/7769334 (last visited May 9, 2018).
     13
28      https://discussions.apple.com/thread/8359279 (last visited May 9, 2018).
     14
        https://discussions.apple.com/thread/8375729 (last visited May 9, 2018).
                                                     13
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 1                 Sue AK, posted on Apr. 10, 2018:
 2                  text jumps all over the place
                    My keyboard is doing strange things. I can be typing and suddenly the text jumps back
 3
                    to the middle of the line or to another lintier altoge (like this. Also the spacekeydoesnot
 4                  place a space between words.15

 5                 iFriendly, posted on Apr. 17, 2018:
 6                  Macbook Pro 2018 butterfly keyboard, solutions?
 7
                    I have a two week old MacBook Pro, and would appreciate some advice. Within a few
 8                  days of owning this MBP, they keys are sticking - I have had 3 keys get stuck while
                    used in a clean office environment with light use. Is there anything I can do to stop these
 9                  keys from sticking?16
10
                   Anfield_17, posted on Aug. 28, 2017:
11
                    MacBook Pro (13-inch, 2017) Butterfly Keyboard Problem
12
                    On my new mac, all of the sudden the left shift key doesn't seem to work, and it would
13                  need a forced pressing for it to function.17
14
                   jude_x, posted on Oct. 8, 2017:
15
                    15” Macbook Pro 2017 keyboard problem.
16
                    I have a 2017 15” MacBook Pro and was disappointed to discover recently that you get
17                  two presses for every one with the H key …. I’m concerned that this new second gen
18                  butterfly keyboard is not reliable which I find unacceptable on a device that cost me
                    £2699. How long will the new keyboard last?18
19
                   Automaticftp, posted on Nov. 17, 2017:
20
21                  I had the top case/keyboard replaced on a 2016 15” twice, meaning three different
                    keyboards failed.19
22
                   FFWest17, posted on Dec. 19, 2017:
23
                    Ironically enough, I experienced the same problem. First with a MacBook (with the first
24
                    generation butterfly switch) and now with my 15” MacBook Pro (second generation
25                  butterfly switch). . . . This time, it is the “B” key (which sometimes works and other

26   15
        https://discussions.apple.com/thread/8353304 (last visited May 9, 2018).
     16
27      https://discussions.apple.com/thread/8362778 (last visited May 9, 2018).
     17
        https://discussions.apple.com/thread/8051207 (last visited May 9, 2018).
     18
28      https://discussions.apple.com/thread/8106230 (last visited May 9, 2018).
     19
        Id.
                                                    14
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                   times either registers multiple keystrokes with a single press or no keystrokes at all). The
 1
                   first time, they had to send the MacBook in to a service center to have the entire top case
 2                 replaced.20

 3                WestVanPete, posted on Jan. 20, 2018:
 4                 I just had the same problem today. Return Key stopped working. Took it in, guy said I
 5                 would need a new “Top Cover” whatever that is. Thank Christ I paid for AppleCare, or
                   it would be $690 Canadian. I told him I’d never buy another one of these again. Under
 6                 his breath he said ‘I can’t blame you’. Sad.21
 7                Vslow, posted on May 3, 2018:
 8
                   I have the same problem. It started just after 2 months with a key “e”. And then it was
 9                 happening for a space key. After I brought it to a Service Center (when the warranty was
                   still active) they said that they reassembled something and the problem is gone. It was
10                 true for a day, but the next day problem with key “e” returned, also for key “a”. And
11                 now key “command” stopped working. This is ridiculous, I walk to the meetings with
                   wireless magic keyboard … because without it MacBook Pro is not usable.22
12
                  ugleAK, posted on May 6, 2018:
13
                   I have the same problem. Both with the spacekey, but also <. It’s like they’re stuck and I
14
                   have to press them really hard, which made the < key to break off yesterday. I went to an
15                 applestore for help. They told me it’s a mechanical problem and that the whole keyboard
                   would have to be replaced. It’ll be around 370 GBP. I’m a student and I saved up for this
16                 computer for like 4 years, and will never be able to afford paying for a new keyboard
                   every second year. My macbook pro is not even 1 year old yet. And to hear that I’m not
17
                   the only one having this problem makes me so frustrated!23
18
                  Nobitasan17, posted Dec. 6, 2017
19
                   Well I have similar issue as well. After 2 months, the notorious ‘b’ key started acting up.
20                 I just searched the Internet and looked like this was a common issue reported by others
                   too. Pressing the ‘b’ key either didn’t work at all or caused the ‘bb’. …
21
                   The guy at Genius Bar said because I lifted the key it voided the warranty. They didn’t
22                 listen to the fact that this $2000 laptop had issue with the keyboard and therefore I lifted
                   the key to look. I have to pay $400 to get it repaired and it will take 4-5 days.
23
24                 .... Apple couldn’t handle this any poorer.24

25
     20
        Id.
26   21
        Id.
     22
27      https://discussions.apple.com/thread/8106230?page=2
     23
        Id.
     24
28      https://forums.macrumors.com/threads/2017-macbook-pro-with-touch-bar-keyboard-issue.2083845/
     (last visited May 10, 2018).
                                                   15
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 1                   Wubsylol, posted Feb. 2, 2018
                      My B, E, G, and J keys are all starting to exhibit the symptoms described in here; double
 2                    presses are the most common, but occasionally it won't work at all and requires an
                      incredibly hard press.
 3
                      A frustrating development considering my MBP is only 2 and bit months old. I’ve tried
 4                    cleaning it with compressed air (as per the Apple support document) but that did
 5                    nothing. Time for a Genius Bar appointment!25

 6                   WeezyWally, posted May 1, 2018
                      I’m super careful with my electronics and always clean and make sure no dirty gets in
 7                    the keys but my shift key still failed on me. It’s very frustrating because my old MBP
                      works perfectly and I can type as hard/soft as I like without worrying.26
 8
 9                   BobTheHeart, posted April 30, 2018
                      “The 2016 15in w/ touch bar is my third MacBook, had my keyboard replaced last
10                    summer after the spacebar became unclickable along with some other keys. Never had
                      any keyboard issues with my previous computers”27
11
                     MichalxH, posted Feb. 5, 2018
12                    What is interesting that most of the broken keys are “B”, “H”, “N”. … I’m experiencing
                      same problem with 13” MBP Late 2017, my “N” key is working in only about 25% of
13                    time. Fortunately I’m still covered by warranty, unfortunately I don’t have AppleCare
14                    ….28

15          66.       The problems with the MacBook’s butterfly keyboard are so prevalent that, as of the

16   date of this filing, a petition initiated in the first week of May 2018 on Change.org calling for Apple to

17   recall the affected MacBook has garnered nearly 17,000 signatures.29

18          67.       Apple was aware of the defect through consumer complaints to Apple shortly after it

19   released the defective MacBook. Apple has been aware of these serious keyboard problems through the

20   discussion pages hosted on Apple’s website as early as May 2015, the month after the MacBook was

21   released. Apple continuously monitors those web pages. Apple also regularly monitors other web

22   pages, including MacRumors, on which consumers complained about keyboard problems beginning on

23   April 15, 2015, just five days after the MacBook came to market. Many consumers contacted Apple

24   25
        https://forums.macrumors.com/threads/2017-macbook-pro-with-touch-bar-keyboard-
25   issue.2083845/page-2 (last visited May 10, 2018).
     26
        https://www.reddit.com/r/apple/comments/8g13we/2016_macbook_pro_butterfly_keyboards_failing/
26   (last visited May 10, 2018).
     27
27      Id. (last visited May 10, 2018).
     28
        https://discussions.apple.com/thread/8106230 (last visited May 10, 2018).
     29
28      https://www.change.org/p/apple-apple-recall-macbook-pro-w-defective-keyboard-replace-with-
     different-working-keyboard (last visited May 8, 2018).
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 1   directly about such problems, and Apple also actively monitored and engaged with consumers on
 2   internet message boards, social media, and retailer websites about their problems with the MacBook
 3   keyboard.
 4          68.     Apple knew or reasonable should have known of the butterfly keyboard vulnerabilities
 5   even earlier, through standard pre-release product testing.
 6                Apple Failed to Adequately Address the Keyboard Defect in the MacBook
 7          69.     Apple provided (and provides) a written one-year limited warranty with each MacBook.
 8          70.     Apple’s warranty states, in pertinent part:
 9                  WHAT IS COVERED BY THIS WARRANTY?
10                  Apple Inc. of One Infinite Loop, Cupertino, California 95014, U.S.A. (“Apple”)
                    warrants the Apple-branded hardware product and Apple-branded accessories contained
11                  in the original packaging (“Apple Product”) against defects in materials and
                    workmanship when used normally in accordance with Apple’s published guidelines for a
12                  period of ONE (1) YEAR from the date of original retail purchase by the end-user
13                  purchaser (“Warranty Period”).

14                  ***
                    WHAT WILL APPLE DO IN THE EVENT THE WARRANTY IS BREACHED?
15
                    If during the Warranty Period you submit a claim to Apple or an AASP in accordance
16                  with this warranty, Apple will, at its option:
17                  (i) repair the Apple Product using new or previously used parts that are equivalent to new
                    in performance and reliability,
18
                    (ii) replace the Apple Product with the same model (or with your consent a product that
19                  has similar functionality) formed from new and/or previously used parts that are
                    equivalent to new in performance and reliability, or
20
                    (iii) exchange the Apple Product for a refund of your purchase price.
21
22          71.     Notwithstanding Apple’s Limited Warranty warranting against material defects,
23   including improper or inferior workmanship and materials, Apple sold the MacBook to consumers—
24   including Plaintiffs—knowing the MacBook is defective. Furthermore, even though the Limited
25   Warranty obligates Apple to repair, replace, or refund the purchase price of a defective MacBook,
26   Apple fails to provide an effective remedy for the defect, instead instructing consumers to attempt futile
27   repairs or troubleshooting, and fails to provide an effective repair that does not lead to repeated
28   keyboard failure.

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 1             72.    Where Apple has agreed to repair or replace defective MacBook keyboards, the repairs
 2   and replacements do not fix the keyboard defect, resulting in consumers experiencing repeated
 3   keyboard failure.
 4             73.    Apple representatives frequently attempt to pass blame for the defective keyboards to
 5   consumers, telling the consumers that their problems are due to dust and debris getting under the
 6   keyboard, and that consumers—not Apple—should try to fix this problem.
 7             74.    Apple provides the following instructions to consumers on its support page for
 8   troubleshooting the keyboard problems: 30
 9
10
11
12
13
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22
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25
26
27
28
     30
          https://support.apple.com/en-us/HT205662 (last visited May 9, 2018).
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17             75.    No matter how often they are repeated, the four steps shown above do not fix the
18   keyboard defect or prevent the keyboard from failing.
19             76.    One 2016 MacBook Pro owner made the following complaint on Apple’s community
20   forum and received the following response from an Apple discussion forum Community Specialist
21   recommending the ineffective troubleshooting process: 31
22
23
24
25
26
27
28
     31
          https://discussions.apple.com/thread/8142456 (last visited May 10, 2018).
                                                      19
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18          77.     As reported and observed by numerous consumers, Apple’s instructions regarding

19   keyboard cleaning are not effective. Mere troubleshooting cannot fix the defect. The butterfly keyboard

20   failures result from a defect that plagues all MacBooks (2015 and later) and MacBook Pros (2016 and

21   later). It is because of this defect that the keyboards fail repeatedly, even after Apple attempts a repair.

22          78.     Apple’s publication of the above instructions and direction that consumers undertake

23   home remedies to resolve keyboard failure reflect Apple’s attempt to shift the burden and cost of the

24   defect onto consumers.

25          79.     Plaintiff Rao took his MacBook into an Apple store where a store employee tried to take

26   apart the keyboard to address its failure. The employee was unable to prevent the defect from

27   continuing to manifest—which it did shortly after Mr. Rao left the Apple store.

28

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 1          80.       Plaintiffs’ experiences are not unique. Many consumers who received a repair or
 2   replacement from Apple report subsequent or repeated keyboard failure:
 3                   Naimfan, posted Nov. 3, 2017
 4                    A brief review of threads in Apple support indicates it is relatively common. In my most
 5                    recent communications with Apple, each person I spoke or chatted with has said
                      keyboard issues are much more frequent than in the past. Only one person, at an Apple
 6                    store, was willing to put a number on it; he suggested that he sees approximately 1
                      failure per 5 machines. I have no way of evaluating the veracity of that statement, but
 7                    from my personal experience that seems low - as noted above, I’m on my third keyboard
                      with this machine, and I’m headed to Apple on Saturday to insist on a replacement.32
 8
                     Automaticftom, posted Nov. 17, 2017
 9
                      I had the top case/keyboard replaced on a 2016 15” twice, meaning three different
10                    keyboards failed. The 2017 I have seems to be OK so far.
11                    It’s been suggested that heat is a problem - my 2016 had the 460 GPU, which may have
                      overheated the butterfly mechanism of certain keys and warped them, causing the
12                    problem.33
13                   Calebjacobo, posted Apr. 17, 2018
14                    I’m on my second keyboard on my 15-inch 2016 MBP. Both times my keys got stuck
                      they had to send it to Apple and replace the whole top piece where the keyboard is.
15
16                    … A laptop that is so delicate and sensitive to dust is no good. 34

17                   537635, posted Apr. 22, 2018

18                    After three topcase replacements they put a 2017 topcase & keyboard back in January.
                      Three months later I’m starting to get double keys registered instead of single ones.
19
                      Laptop hasn’t been moved from my desk in three months, absolutely no food around it,
20                    have had a keyboard cover on all the time ….35
21
            81.       Apple’s inability to provide an effective fix or repair for the failed keyboards is
22
     consistent with their defective nature.
23
24
25
     32
         https://forums.macrumors.com/threads/2017-macbook-pro-with-touch-bar-keyboard-issue.2083845/
26   (last visited May 10, 2018).
     33
27       https://discussions.apple.com/thread/8106230 (last visited May 10, 2018).
     34
         https://forums.macrumors.com/threads/2017-macbook-pro-with-touch-bar-keyboard-
28   issue.2083845/page-4
     35
        Id. (last visited May 10, 2018).
                                                      21
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 1                                     CLASS ACTION ALLEGATIONS
 2          82.     Plaintiffs bring this lawsuit under Federal Rules of Civil Procedure Rules 23(a), (b)(1),
 3   (b)(2), (b)(3), and/or (c)(4) as representatives of the following Class:
 4                  All persons within the United States who purchased, other than for resale,
                    a model year 2015 or later Apple MacBook, or a model year 2016 or later
 5                  MacBook Pro laptop, equipped with a “butterfly” keyboard.
 6          83.     The following persons and entities are excluded from the Class: Apple and its officers,
 7   directors, employees, subsidiaries, and affiliates; all judges assigned to this case and any members of
 8   their immediate families; and the parties’ counsel in this litigation. Plaintiffs reserve the right to
 9   modify, change, or expand the Class definitions based upon discovery and further investigation.
10          84.     Numerosity. Apple sold at least hundreds of thousands of MacBook laptops. Members
11   of the Class are widely dispersed throughout the country. Class members are so numerous that joinder
12   is impracticable.
13          85.     Typicality. Plaintiffs’ claims are typical of the claims of all Class members. Plaintiffs,
14   like all Class members, purchased MacBook laptops that contain defective butterfly keyboards and are
15   subject to a common express warranty. Plaintiffs, like all Class members, would not have purchased, or
16   would have paid substantially less for, MacBook laptops had they known of the defect or the fact that
17   Apple would respond inadequately when the defect manifested.
18          86.     Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class. They
19   have no interests antagonistic to the interests of other Class members and are committed to vigorously
20   prosecuting this case. Plaintiffs have retained competent counsel experienced in the prosecution of
21   consumer protection class actions involving defective consumer electronics.
22          87.     Predominance. Questions of law and fact common to the Class members predominate
23   over any questions that may affect only individual Class members, because Apple acted on grounds
24   generally applicable to the Class as a whole. Questions of law and fact common to the Class include:
25                  a.      Whether the MacBook was defective at the time of sale;
26                  b.      Whether the butterfly keyboard defect substantially impairs the value of the
27   MacBook;
28

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 1                  c.      Whether Apple knew of the defect, but continued to promote and sell the
 2   MacBook, including its butterfly keyboard, without disclosing the problems and their consequences to
 3   consumers;
 4                  d.      Whether a reasonable consumer would consider the butterfly keyboard defect
 5   and its consequences important to the decision whether to purchase a MacBook;
 6                  e.      Whether Apple carried out the discretion it afforded itself under its warranty in
 7   good faith;
 8                  f.      Whether Apple breached express and implied warranties connected with the
 9   MacBook;
10                  g.      Whether Apple’s affirmative representations and omissions regarding the
11   butterfly keyboard (and its defect) were likely to deceive a reasonable consumer;
12                  h.      Whether Apple acted unlawfully, unfairly, and/or fraudulently in violation of
13   California’s Unfair Competition Law, CAL. BUS. & PROF. CODE § 17200, et seq.;
14                  i.      Whether Plaintiffs and Class members overpaid for their MacBook as a result of
15   the latent keyboard defect;
16                  j.      Whether Plaintiffs and Class members are entitled to equitable relief, including
17   restitution and injunctive relief; and
18                  k.      Whether Plaintiffs and Class members are entitled to damages or other monetary
19   relief, and if so, in what amount.
20          88.     Superiority. A class action is superior to all other available methods for the fair and
21   efficient adjudication of this controversy. Because the amount of each individual Class member’s claim
22   is small relative to the complexity of the litigation, and because of Apple’s financial resources, no Class
23   member is likely to pursue legal redress individually for the violations detailed in this complaint.
24   Individualized litigation would significantly increase the delay and expense to all parties and to the
25   Court and would create the potential for inconsistent and contradictory rulings. By contrast, a class
26   action presents fewer management difficulties, allows claims to be heard which would otherwise go
27   unheard because of the expense of bringing individual lawsuits, and provides the benefits of
28   adjudication, economies of scale, and comprehensive supervision by a single court.

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 1           89.      Class certification is also appropriate under Rules 23(b)(1), (b)(2), and (c)(4) because:
 2          The prosecution of separate actions by the individual members of the Class would create a risk
 3           of inconsistent or varying adjudications establishing incompatible standards of conduct for
 4           Apple;
 5          The prosecution of separate actions by individual Class members would create a risk of
 6           adjudications that would, as a practical matter, be dispositive of the interests of other Class
 7           members not parties to the adjudications, or would substantially impair or impede their ability
 8           to protect their interests;
 9          Apple acted and refused to act on grounds generally applicable to the Class, thereby making
10           appropriate final injunctive relief with respect to the members of the Class as a whole; and
11          The claims of Class members include common issues that are appropriate for certification.
12                                             CLAIMS FOR RELIEF
13           90.      Plaintiff Rao brings his claims under California law because he is a California resident
14   and purchased his MacBook while in California.
15           91.      Plaintiff Barbaro also brings his claims under California law, because he purchased his
16   MacBook directly from Apple through Apple’s online store. Mr. Barbaro’s transaction is subject to
17   Apple’s Sales & Refund Terms and Conditions, which incorporate by reference Apple’s Terms of Use,
18   which in turn provide that “all disputes . . . will be governed by . . . the laws of the State of California
19   without regard to its conflicts of laws provisions.”
20                                          FIRST CLAIM FOR RELEF
                                            Breach of Express Warranty
21
             92.      Plaintiffs incorporate the above allegations by reference.
22
             93.      Apple provided a one-year written Limited Warranty to consumers in connection with
23
     every sale of a MacBook. Under the terms of the Limited Warranty, Apple warranted “against defects
24
     in materials and workmanship” in the MacBook “when used normally in accordance with Apple’s
25
     published guidelines for a period of ONE (1) YEAR from the date of original retail purchase by the
26
     end-user purchaser . . . .”
27
28

                                                      24
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 1          94.     Apple’s Limited Warranty provides that if the warranty is triggered during the warranty
 2   period, Apple will either: “(i) repair the Apple Product using new or previously used parts that are
 3   equivalent to new in performance and reliability, (ii) replace the Apple Product with the same model (or
 4   with your consent a product that has similar functionality) formed from new and/or previously used
 5   parts that are equivalent to new in performance and reliability, or (iii) exchange the Apple Product for a
 6   refund of your purchase price.”36
 7          95.     Notwithstanding the Limited Warranty, Plaintiffs’ and Class members’ MacBooks were
 8   materially defective at the time of sale. The defect is inherent to the MacBook’s keyboard, and gives
 9   the laptop a substantial propensity to fail—rendering the devices unsuitable for their primary purpose—
10   and existed at all relevant times.
11          96.     The Limited Warranty was included with every MacBook and also was made available
12   on Apple’s website.
13          97.     Plaintiffs and Class members used their MacBook in a manner consistent with the
14   operating instructions prior to manifestation of the latent defect.
15          98.     Apple was on actual notice of the defective nature of the MacBook before selling
16   Plaintiffs and Class members their laptops and received timely notice of the breaches they experienced.
17   Despite reasonable opportunities to honor the promises in its express warranty, Apple failed to furnish
18   an effective remedy to Plaintiffs and Class members.
19          99.     Apple’s failure to provide Plaintiffs and Class members with a non-defective
20   replacement device, an effective repair, or a refund of their purchase price breached its obligations
21   under the warranty.
22          100.    As a direct and proximate result of Apple’s breaches of express warranty, Plaintiffs and
23   Class members have been damaged in an amount to be proven at trial.
24                                      SECOND CLAIM FOR RELEF
                               Breach of Covenant of Good Faith and Fair Dealing
25
            101.    Plaintiffs incorporate the above allegations by reference.
26
27
     36
28     https://www.apple.com/legal/warranty/products/embedded-mac-warranty-us.html (last visited May 8,
     2018).
                                                     25
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 1          102.    A covenant of good faith and fair dealing is implied in every contract and imposes upon
 2   each party a duty of good faith and fair dealing in its performance of the contract. Common law calls
 3   for substantial compliance with the spirit, not just the letter, of a contract in its performance. The duty
 4   to act in good faith and deal fairly requires adherence to commercial norms and prevents a contracting
 5   party from acting in contravention of the counterparty’s objectively reasonable expectations arising
 6   from the agreement.
 7          103.    Apple breached the covenant of good faith and fair dealing that accompanied its Limited
 8   Warranty, and failed to exercise the discretion it afforded itself under the terms of its warranty in good
 9   faith. Apple engaged in a uniform pattern and practice of exercising the discretion afforded to it under
10   its Limited Warranty to deny adequate warranty service through an effective repair, replacement with a
11   non-defective MacBook, or purchase-price refund.
12          104.    Despite knowing that the MacBook is defective, Apple deprived Plaintiffs and Class
13   members of warranty service through at least the following pattern or practice of behavior:
14         Failing to provide an effective repair or remedy to the defect in the butterfly keyboards, causing
15          the defect to manifest repeatedly;
16         Encouraging or requiring consumers who complain about or seek warranty service relating to
17          the defect to resort to ineffectual self-help methods to alleviate the defect, e.g., telling
18          consumers to clean their keyboards;
19         Promising, but failing to deliver, warranty relief; and
20         Blaming the defective nature of MacBook keyboards on consumers, while knowing that the
21          keyboards are defective.
22          105.    Apple’s refusal to provide an effective repair, a non-defective replacement, or a refund
23   unfairly nullified Plaintiffs’ and Class members’ rights under the Limited Warranty. Apple’s conduct
24   departs from commercially reasonable behavior and violated Plaintiffs’ and Class members’ objectively
25   reasonable expectations arising from the express warranty.
26          106.    All the conditions required for Apple’s performance under the Limited Warranty had
27   occurred as Plaintiffs’ and Class members’ MacBooks were materially defective.
28

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                                         CLASS ACTION COMPLAINT
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 1          107.    As a direct and proximate result of Apple’s breaches of the covenant of good faith and
 2   fair dealing, Plaintiffs and Class members have been damaged in an amount to be proven at trial.
 3                                       THIRD CLAIM FOR RELIEF
                               Breach of the Implied Warranty of Merchantability
 4
 5          108.    Plaintiffs incorporate the above allegations by reference.
 6          109.    By operation of law, Apple—as a manufacturer of the MacBook and as offeror of the
 7   Limited Warranty—impliedly warranted to Plaintiffs and Class members that the laptops they were
 8   purchasing were of merchantable quality and fit for their ordinary and intended use as portable laptop
 9   devices.
10          110.    Consumers who did not purchase their MacBook directly from Apple are the intended
11   third-party beneficiaries of: (1) the written distribution and supply agreements between Apple and its
12   authorized resellers (i.e. B&H, Amazon, Best Buy, Walmart), and of the implied warranties that attach
13   to those contracts; and (2) Apple’s Limited Warranty. The retailer sellers were not intended to be the
14   ultimate users of the MacBook and have no rights under the express warranty agreement connected
15   with the laptop. Apple’s express warranty was designed for and intended to benefit end-users only.
16          111.    Apple breached the implied warranty of merchantability in connection with its sale and
17   distribution of the MacBook. At the point of sale, the MacBook—while appearing normal—contained a
18   latent defect in the butterfly keyboard rendering them defective and unfit for their ordinary and
19   intended purpose. The MacBooks were defective when they left Apple’s possession and were failure-
20   prone at the point of sale.
21          112.    Had Plaintiffs and Class members known that the MacBook was defective, they would
22   not have purchased them, would not have purchased them at the prices they did, or would have returned
23   them during their respective sellers’ buyer’s remorse periods.
24          113.    Plaintiffs and Class members furnished Apple an opportunity to cure its breach of
25   warranty, and otherwise complied with any and all obligations under the implied warranty of
26   merchantability. Despite knowing the MacBook is defective prior to or concurrent with the release of
27   the laptop, Apple has refused to provide Plaintiffs and Class members with appropriate warranty relief,
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                                         CLASS ACTION COMPLAINT
                  Case 5:18-cv-02813-EJD Document 1 Filed 05/11/18 Page 29 of 44




 1   leaving them without the functional product they reasonably expected in making their purchasing
 2   decisions.
 3               114.   As a direct and proximate result of Apple’s breaches of the implied warranty of
 4   merchantability, Plaintiffs and Class members have sustained damages in an amount to be determined
 5   at trial.
 6                                         FOURTH CLAIM FOR RELIEF
                                    Violation of the Magnuson-Moss Warranty Act
 7
                                         15 U.S.C. § 2301, et seq. (“MMWA”)
 8               115.   Plaintiffs incorporate the above allegations by reference.
 9               116.   The MacBook is a “consumer product” under the MMWA. 15 U.S.C. § 2301(1).
10               117.   Plaintiffs and Class members are “consumers” under the MMWA. 15 U.S.C. § 2301(3).
11               118.   Apple is a “supplier” and “warrantor” under the MMWA. 15 U.S.C. § 2301(4)-(5).
12               119.   Through written and implied warranties, Apple warranted to Plaintiffs and Class
13   members that the MacBook they purchased was free from defects, of merchantable quality, and fit for
14   the ordinary purposes for which a laptop is used.
15               120.   Apple breached and refused to honor these written and implied promises. As a result of
16   the butterfly keyboard defect, the MacBook is inoperable and fails to perform in accordance with its
17   ordinary and intended purposes.
18               121.   Apple has been given reasonable opportunities to cure its breaches of warranty. Apple
19   had actual knowledge and ample notice that the butterfly keyboard in the MacBook is defective as
20   detailed above, but failed to provide an adequate remedy.
21               122.   The amount in controversy for purposes of Plaintiffs’ individual claims exceeds $25.
22   The amount in controversy in this action exceeds $50,000, exclusive of interest and costs, computed on
23   the basis of all claims to be adjudicated in the suit.
24               123.   As a direct and proximate result of Apple’s breaches of implied and express warranties
25   pursuant to 15 U.S.C. § 2310(d)(1), Plaintiffs and Class members have suffered damages in an amount
26   to be determined at trial.
27               124.   Plaintiffs also seek costs and expenses, including reasonable attorneys’ fees, under the
28   MMWA. 15 U.S.C. § 2310(d)(2).

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                                             CLASS ACTION COMPLAINT
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                                         FIFTH CLAIM FOR RELIEF
 1
                            Violation of the Song-Beverly Consumer Warranty Act
 2                                       CAL. CIV. CODE § 1792, et seq.

 3          125.    Plaintiff Rao incorporates the above allegations by reference.
 4          126.    Mr. Rao is a “buyer” within the meaning of CAL. CIV. CODE § 1791(b). He purchased
 5   his MacBook while located in California.
 6          127.    Apple is a manufacturer within the meaning of CAL. CIV. CODE § 1791(j). Apple was
 7   responsible for producing the MacBook and directed and was involved in all stages of the production
 8   and manufacturing processes.
 9          128.    The MacBook is a “consumer good[]” within the meaning of CAL. CIV. CODE § 1791(a).
10          129.    Apple impliedly warranted to Mr. Rao that the MacBook he purchased was
11   “merchantable” under CAL. CIV. CODE §§ 1791.1(a) and 1792.
12          130.    Apple breached the implied warranty of merchantability by producing, manufacturing,
13   and selling laptops that were not of merchantable quality. The MacBook is defective, resulting in
14   sticking and non-responsive keys and preventing them from being used for their core function of
15   typing. The MacBook is therefore unfit for the ordinary purposes for which a laptop is used and would
16   not pass without objection in the laptop trade.
17          131.    The defect in the MacBook is latent. Though the MacBook appears operable when new,
18   the butterfly keyboard defect existed in the product at the time of sale and throughout the one-year
19   Limited Warranty period. Accordingly, any subsequent discovery of the defect beyond that time does
20   not bar an implied warranty claim under the Song-Beverly Act.
21          132.    Any attempt by Apple to disclaim its implied warranty obligations under the Song-
22   Beverly Act is ineffective due to its failure to adhere to CAL CIV. CODE §§ 1792.3 and 1792.4, which
23   provide that, in order to validly disclaim the implied warranty of merchantability, a manufacturer must
24   “in simple and concise language” state: “(1) The goods are being sold on an ‘as is’ or ‘with all faults’
25   basis. (2) The entire risk as to the quality and performance of the goods is with the buyer. (3) Should
26   the goods prove defective following their purchase, the buyer and not the manufacturer, distributor, or
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28

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                                         CLASS ACTION COMPLAINT
               Case 5:18-cv-02813-EJD Document 1 Filed 05/11/18 Page 31 of 44




 1   retailer assumes the entire cost of all necessary servicing or repair.” Apple’s attempted warranty
 2   disclaimer does not conform to Sections 1792.3 and 1792.4.37
 3            133.   As a direct and proximate cause of Apple’s breaches of the Song-Beverly Consumer
 4   Warranty Act, pursuant to CAL. CIV. CODE § 1791.1(d) and 1794, Plaintiff Rao and other Class
 5   members have been damaged in an amount to be proven at trial.
 6            134.   Mr. Rao seek costs and expenses, including reasonable attorneys’ fees, under CAL. CIV.
 7   CODE § 1794.
 8                                         SIXTH CLAIM FOR RELIEF
                                Violation of the California Unfair Competition Law
 9
                                 CAL. BUS. & PROF. CODE § 17200, et seq. (“UCL”)
10
              135.   Plaintiffs incorporate the above allegations by reference.
11
              136.   The UCL proscribes “any unlawful, unfair or fraudulent business act or practice and
12
     unfair, deceptive, untrue or misleading advertising.” CAL. BUS. & PROF. CODE § 17200.
13
                                                       Unlawful
14
              137.   Apple’s conduct is unlawful, in violation of the UCL, because it violates the California
15
     Consumer Legal Remedies Act, the Magnuson-Moss Warranty Act, the Song-Beverly Warranty Act,
16
     and constitutes breach of express and implied warranties, and fraudulent concealment.
17
                                                           Unfair
18
              138.   Apple’s conduct is unfair in violation of the UCL because it violates California public
19
     policy, legislatively declared in the Song-Beverly Consumer Warranty Act, requiring a manufacturer to
20
     ensure that goods it places on the market are fit for their ordinary and intended purposes.
21
              139.   Moreover, Apple acted in an unethical, unscrupulous, outrageous, oppressive, and
22
     substantially injurious manner. For example:
23
             Apple promoted and sold laptops it knew were defective in that they contain a keyboard that is
24
              substantially certain to fail prematurely;
25
26
27
     37
28    See https://www.apple.com/legal/warranty/products/embedded-mac-warranty-us.html (last visited
     May 8, 2018).
                                                      30
                                           CLASS ACTION COMPLAINT
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 1         Apple failed to disclose that the MacBook is defective, and represented through advertising,
 2          product packaging, press releases, and other sources that the MacBook possesses particular
 3          qualities that were inconsistent with Apple’s knowledge of the product;
 4         Apple made repairs and provide replacements that caused Plaintiffs to experienced repeated
 5          instances of failure, rendering the Limited Warranty useless;
 6         Apple failed to exercise adequate quality control and due diligence over the MacBook before
 7          placing it on the market; and
 8         Apple minimized the scope and severity of the problems with the MacBook, refusing to
 9          acknowledge that its keyboard is defective, failing to provide adequate relief to consumers, and
10          even suggesting to consumers that they should try to resolve the problems by cleaning their
11          keyboard when Apple knew that doing so would be ineffective.
12          140.   The gravity of harm resulting from Apple’s unfair conduct outweighs any potential
13   utility. The practice of selling defective laptops without providing an adequate remedy to cure the
14   defect—and continuing to sell those laptops without full and fair disclosure of the defect—harms the
15   public at large and is part of a common and uniform course of wrongful conduct.
16          141.   The harm from Apple’s conduct was not reasonably avoidable by consumers. The
17   MacBook suffers from a latent defect, and even after receiving a large volume of consumer complaints,
18   Apple did not disclose the defect. Plaintiffs did not know of, and had no reasonable means of
19   discovering, that the MacBook butterfly keyboards are defective.
20          142.   There were reasonably available alternatives that would have furthered Apple’s business
21   interests of satisfying and retaining its customers while maintaining profitability, such as: (1)
22   acknowledging the defect and providing a permanent fix for defective keyboards; (2) disclosing the
23   defect to prospective purchasers; (3) extending the warranty for the MacBook; and (4) offering refunds
24   or suitable non-defective replacement laptops to consumers with failed keyboards.
25                                            Fraud by Omission
26          143.   Apple’s conduct is fraudulent in violation of the UCL because it is likely to deceive a
27   reasonable consumer:
28

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                                        CLASS ACTION COMPLAINT
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 1         Apple knowingly and intentionally concealed from Plaintiffs and Class members that the
 2          MacBook contains a latent defect that renders the keyboards prone to failure.
 3         Apple volunteered information to Plaintiffs and Class members through advertising and through
 4          other means that the laptops—and specifically, the butterfly keyboards—were functional,
 5          premium devices without disclosing information that would have materially qualified those
 6          partial representations.
 7         Apple promoted the high quality and premium features of the MacBook—including the superior
 8          responsiveness and stability of the butterfly switch keyboard—despite knowing the MacBook is
 9          defective, and failed to correct its misleading partial disclosures.
10          144.    Apple had ample means and opportunities to alert Plaintiffs and Class members to the
11   fact that the MacBook is defective, including on its web platforms selling the laptop; on the
12   advertisements on its website for the laptop; on the laptop’s external packaging; and as part of the
13   standardized MacBook setup process. But Apple uniformly failed to disclose that the MacBook is
14   defective. Had Apple disclosed that the MacBook is defective, Plaintiffs and Class members would not
15   have purchased their laptops, would not have purchased them at the prices they did, or would have
16   returned them during their respective buyer’s remorse periods.
17          145.    Apple was under a duty to disclose the butterfly keyboard defect because of its exclusive
18   knowledge of the defect before selling the MacBook and because it made partial representations about
19   the laptops and their butterfly keyboards without also disclosing the latent defect.
20          146.    Plaintiffs and Class members suffered injury in fact, including lost money or property,
21   as a result of Apple’s unlawful, unfair and fraudulent acts and omissions. Absent Apple’s unlawful,
22   unfair, and fraudulent conduct, Plaintiffs and Class members would not have purchased their
23   MacBooks, would not have purchased them at the prices they did, or would have returned their devices
24   for a refund during their respective buyer’s remorse periods.
25          147.    Through its unlawful, unfair, and fraudulent conduct, Apple acquired Plaintiffs money
26   directly and as passed on by Apple’s authorized resellers (e.g., B&H, Best Buy, Amazon, Walmart).
27          148.    Plaintiffs and Class members accordingly seek appropriate relief, including: (1)
28   restitution under the UCL; and (2) such orders or judgments as may be necessary to enjoin Apple from

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                                          CLASS ACTION COMPLAINT
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 1   continuing its unfair, unlawful, and fraudulent practices. Plaintiffs also respectfully seek reasonable
 2   attorneys’ fees and costs under applicable law, including under California Code of Civil Procedure
 3   section 1021.5.
 4                                     SEVENTH CLAIM FOR RELIEF
                            Violation of California’s Consumer Legal Remedies Act
 5                                  CAL. CIV. CODE § 1750, et seq. (“CLRA”)
 6          149.    Plaintiffs incorporate the above allegations by reference.
 7          150.    Apple is a “person” within the meaning of CAL. CIV. CODE §§ 1761(c) and 1770, and
 8   provided “goods” within the meaning of CAL. CIV. CODE §§ 1761(a) and 1770.
 9          151.    Apple’s acts and practices, as alleged in this complaint, violate the CLRA, CAL. CIV.
10   CODE §§ 1770(a)(5), (7), and (9) because they consist of unfair and deceptive acts and practices in
11   connection with transactions—namely, the sale of defective laptops to Plaintiffs and Class members.
12   Specifically, Apple:
13              Represented that the MacBook had characteristics, uses, and benefits it does not have;
14              Represented that the MacBook is of a standard, quality, or grade that it is not; and
15              Advertised the MacBook with intent not to sell the laptop as advertised
16          152.    Through pre-release testing and consumer complaints, Apple was aware that the
17   MacBook’s keyboard is defective and prone to failure.
18          153.    Apple was under a duty to disclose that the MacBook is defective because it had
19   superior knowledge of the defect—through pre-release testing and consumer complaints—and because
20   it made many general, partial representations regarding the laptops’ high quality and premium features,
21   including the keyboard, that were materially misleading.
22          154.    Apple had opportunities to disclose to Plaintiffs and Class members that the MacBook is
23   defective, including through advertisements, on external packaging, and during the laptop setup
24   process. Despite its exclusive knowledge and opportunities to disclose the laptop’s defective nature,
25   Apple failed to disclose the defect to Plaintiffs and Class members either prior to purchase or before
26   Plaintiffs’ and Class members’ respective buyer’s remorse periods expired.
27          155.    Apple’s misrepresentations and omissions were material. Had Plaintiffs and Class
28   members known that the MacBook is defective, they would not have purchased their MacBook, would

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                                          CLASS ACTION COMPLAINT
              Case 5:18-cv-02813-EJD Document 1 Filed 05/11/18 Page 35 of 44




 1   not have purchased it at the prices they did, or would have returned them during their respective
 2   buyer’s remorse periods.
 3          156.    Plaintiffs accordingly seek actual damages in an amount to be proven at trial, reasonable
 4   attorneys’ fees and costs, declaratory relief, and punitive damages.
 5          157.    Pursuant to California Civil Code § 1782(a), on their own behalf and on behalf of the
 6   Class, Plaintiffs Rao and Barbaro each sent CLRA notices to Apple on May 10, 2018.
 7          158.    Plaintiffs’ CLRA notices were sent via certified mail, return receipt requested, to
 8   Apple’s principal places of business, advising Apple that it is in violation of the CLRA and must
 9   correct, replace or otherwise rectify the goods alleged to be in violation of CAL. CIV. CODE § 1770. In
10   the event the relief requested in those notices is not provided within 30 days, Plaintiffs will amend this
11   complaint to include a request for monetary damages pursuant to the CLRA.
12          159.    Plaintiffs’ CLRA venue declarations are attached as Exhibits 1 and 2 to this complaint in
13   accordance with CAL. CIV. CODE § 1780(d).
14                                     EIGHTH CLAIM FOR RELIEF
                                    Fraudulent Concealment (Common Law)
15
16          160.    Plaintiffs incorporate the above allegations by reference.

17          161.    Apple intentionally suppressed and concealed material facts concerning the performance

18   and quality of the MacBook. As alleged herein, Apple knew or reasonably should have known the

19   butterfly switch keyboard in the MacBook is defective. Furthermore, Apple was aware of consumer

20   complaints concerning defect-related issues, but never disclosed the defect to Plaintiffs and Class

21   members.

22          162.    Because the defective nature of the MacBook is latent, Plaintiffs and Class members had

23   no reasonable means of knowing that Apple’s representations concerning the MacBook were

24   incomplete, false, or misleading, or that it had failed to disclose that the MacBook is defective.

25   Plaintiffs and Class members did not and reasonably could not have discovered Apple’s deception prior

26   to purchase or expiration of their respective buyer’s remorse periods.

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                                         CLASS ACTION COMPLAINT
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 1          163.    Had Plaintiffs and Class members known that the MacBook is defective, they would not
 2   have purchased a MacBook, would not have purchased it at the price they did, or would have returned
 3   it during their respective buyer’s remorse periods.
 4          164.    Apple had a duty to disclose the defect because the defect is material and Apple
 5   possessed exclusive knowledge of the defect. Apple conducted pre-release testing of the MacBook and
 6   its internal components. This testing revealed, or reasonably should have revealed, the existence of the
 7   defect before the MacBook’s release, and only Apple had access to this information.
 8          165.    Apple also had a duty to disclose the defect because, through advertising, press releases,
 9   statements made during the launch event, in its online purchase portal, and in other sources Plaintiffs
10   and Class members encountered before purchasing their laptops, Apple made many general, partial
11   representations regarding the supposed high quality of the MacBook and its premium features—
12   including superior keyboard and keystroke responsiveness—but failed to disclose facts that would have
13   materially qualified these partial representations. Having volunteered information relating to the
14   butterfly keyboard to Plaintiffs and Class members, Apple had the duty to disclose the entire truth and
15   the existence of the defect.
16          166.    Both Plaintiffs here were exposed to Apple’s specific representations about the
17   MacBook, before and immediately after purchase, and within the time period in which they could have
18   returned their MacBook during their respective buyer’s remorse periods. Each Plaintiff encountered
19   Apple’s representations (online, in advertisements, or both), and each Plaintiff received information
20   from Apple—including about the MacBook’s keyboard—during the MacBook setup process. Each
21   Plaintiff likewise encountered the external packaging of the MacBook—which Apple developed—
22   before purchasing or using the laptop and during the buyer’s remorse period. None of the informational
23   sources Plaintiffs encountered—advertisements, websites, external packaging, the setup process, or the
24   MacBook launch event—provided any indication that the MacBook is defective.
25          167.    Apple concealed the defect to sell more laptops at a premium price, prevent damage to
26   its brand, and avoid the costs of developing a fix for the defect and of repairs, replacements, and
27   refunds under its Warranty.
28

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                                         CLASS ACTION COMPLAINT
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 1            168.    Plaintiffs and Class members were unaware of the omitted material facts. Had Apple
 2   disclosed the keyboard defect, including through advertising, press releases, the MacBook packaging,
 3   or the initial setup process, Plaintiffs and Class members would not have purchased a MacBook, would
 4   have paid substantially less for it, or would have returned it for a refund during the sellers’ respective
 5   return period.
 6            169.    Plaintiffs and Class members reasonably relied to their detriment upon Apple’s material
 7   misrepresentations and omissions regarding the quality of the MacBook and the absence of a keyboard
 8   defect in deciding to purchase their laptops.
 9            170.    Plaintiffs and Class members sustained damages as a direct and proximate result of
10   Apple’s deceit and fraudulent concealment. Among other damage, Plaintiffs and Class members did not
11   receive the value of the premium price they paid for their laptops.
12            171.    Apple’s fraudulent concealment was malicious, oppressive, deliberate, intended to
13   defraud Plaintiffs and Class members and enrich Apple, and in reckless disregard of Plaintiffs’ and
14   Class members’ rights, interests, and well-being. Apple’s conduct warrants an assessment of punitive
15   damages in an amount sufficient to deter such conduct in the future, to be determined according to
16   proof.
17                                           PRAYER FOR RELIEF
18            WHEREFORE, Plaintiffs, on behalf of themselves and members of the Class, respectfully
19   request that this Court:
20                    A.     Determine that the claims alleged herein may be maintained as a class action
21   under Federal Rule of Civil Procedure 23, and enter an order certifying the Class defined above and
22   appointing Plaintiffs as Class representatives;
23                    B.     Award all actual, general, special, incidental, statutory, punitive, and
24   consequential damages and restitution to which Plaintiffs and Class members are entitled;
25                    C.     Award pre-judgment and post-judgment interest as provided by law;
26                    D.     Grant appropriate injunctive and declaratory relief, including, without limitation,
27   an order that requires Apple to: (1) provide adequate disclosure of the defective nature of the
28   MacBooks and; (2) return to Plaintiffs and Class members all costs attributable to remedying or

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                                          CLASS ACTION COMPLAINT
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 1   replacing defective MacBook laptops, including but not limited to economic losses from the purchase
 2   of replacement laptops;
 3                   E.     Award reasonable attorneys’ fees and costs as permitted by law; and
 4                   F.     Grant such other and further relief as the Court deems appropriate.
 5                                        DEMAND FOR JURY TRIAL
 6           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of all issues
 7   triable as of right.
 8
 9   Dated: May 11, 2018                                   Respectfully submitted,
10
11                                                         By:
                                                           Daniel C. Girard (State Bar No. 114826)
12
                                                           Jordan Elias (State Bar No. 228731)
13                                                         Adam E. Polk (State Bar No. 273000)
                                                           Simon S. Grille (State Bar No. 294914)
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                                                                  awf@chimicles.com
26                                                                mbd@chimicles.com
27
                                                           Counsel for Plaintiffs
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                                    EXHIBIT 1
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 1
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 3
                                 UNITED STATES DISTRICT COURT
 4                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                     SAN JOSE DIVISION

 6                                                        Case No.
 7   ZIXUAN RAO and KYLE BARBARO,
     individually and on behalf of all others similarly   CLRA VENUE DECLARATION OF
 8   situated,                                            PLAINTIFF ZIXUAN RAO PURSUANT
                                                          TO CALIFORNIA CIVIL CODE
 9                      Plaintiffs,                       SECTION 1780(d)
10
              v.
11
     APPLE INC,
12
13                      Defendant.

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              CLRA VENUE DECLARATION OF PLAINTIFF ZIXUAN RAO PURSUANT TO
                          CALIFORNIA CIVIL CODE SECTION 1780(d)
                                        CASE NO.
              Case 5:18-cv-02813-EJD Document 1 Filed 05/11/18 Page 41 of 44




 1          I, Zixuan Rao, declare as follows:
 2          1.      I have personal knowledge of the facts stated herein and, if called upon to do so, could
 3   competently testify thereto.
 4          2.      I am a Plaintiff in the above-captioned action.
 5          3.      I submit this declaration in support of the Class Action Complaint, which is based in part
 6   on violations of the Consumers Legal Remedies Act, California Civil Code section 1750 et seq.
 7          4.      The Class Action Complaint has been filed in the proper place for trial of this action.
 8          5.      Defendant Apple Inc. has its principal place of business in Cupertino, California, which is
 9   within Santa Clara County. Apple conducts substantial business, including the acts and practices at
10   issue in this action, within Santa Clara County.
11          6.      I purchased my MacBook Pro from B&H Photo Video.
12
13          I declare under penalty of perjury under the laws of the United States that the foregoing is true
14   and correct to the best of my knowledge. Executed on May 11, 2018 in San Diego, CA.
15
                                                   By:
16
                                                          ZIXUAN RAO
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                 CLRA VENUE DECLARATION OF PLAINTIFF ZIXUAN RAO PURSUANT TO
                             CALIFORNIA CIVIL CODE SECTION 1780(d)
                                           CASE NO.
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                                    EXHIBIT 2
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 2
 3
                                 UNITED STATES DISTRICT COURT
 4                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                     SAN JOSE DIVISION

 6                                                        Case No.
 7   ZIXUAN RAO and KYLE BARBARO,
     individually and on behalf of all others similarly   CLRA VENUE DECLARATION OF
 8   situated,                                            PLAINTIFF KYLE BARBARO
                                                          PURSUANT TO CALIFORNIA CIVIL
 9                      Plaintiff,                        CODE SECTION 1780(d)
10
              v.
11
     APPLE INC,
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13                      Defendant.

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            CLRA VENUE DECLARATION OF PLAINTIFF KYLE BARBARO PURSUANT TO
                         CALIFORNIA CIVIL CODE SECTION 1780(d)
                                       CASE NO.
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